                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                              )
                                                       )        Case No. 3:09-CR-79-004
 v.                                                    )
                                                       )
 DAVID JAMES CHAMBLEE, JR.                             )       JUDGE JORDAN



                              AGREED ORDER OF REVOCATION


         A Petition for Revocation of Supervised Release has been filed against the

 Defendant, David James Chamblee, Jr. The Defendant admits that he has violated each of the

 violations outlined by the Petition.

        An agreement has been reached between the parties, recommending that the Defendant's

 supervised release should be revoked and that he should receive a sentence of eight (8) months of

 imprisonment to be followed by twenty-four (24) months of supervised release. The parties also
                                                                                  ~




 agree that the Defendant's supervised release should include the special condition that he serve

 up to six (6) months at the Midway R~habilitation Center and abide by the program rules and

 regulations. All other previously-imposed conditions of release should remain in place. The

 parties further agree the Defendant should be recommended for housing at a Bureau of Prisons

 facility in close proximity to Eastern Tennessee.

        The Defendant waives his right to a hearing pursuant to Rule 32 of the Rules of Criminal

 Procedure, waives his right to allocute at a revocation hearing, and asks that the agreement of the

 Defendant and the government pursuant to Rule 11 of the Federal Rules of Criminal Procedure

 be found to be a proper sentence.




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         This Court has considered the Chapter Seven policy statements in the United States

 Sentencing Guidelines. The violations committed by the Defendant are "Grade B" and "Grade

 C" violations. The Defendant's criminal history category is III. The advisory Guideline range is

 8 - 14 months, and there is a statutory maximum of 24 months imprisonment. The Court has also

 considered the factors listed in 18 U.S.C. § 3553(a).

         The Court finds that the recommended sentence is sufficient but not greater than

 necessary to comply with the statutory purpose set forth in 18 U.S.C. § 3553(a). The

 recommended sentence is within the statutory maximum, is necessary to reflect the seriousness of

 the offenses committed by the Defendant, promote respect for the law, and deter others who

 violate supervised release.

         Based on the foregoing, the Court concludes that the recommended sentence is sufficient,

 but not greater than necessary to accomplish the purposes set forth in 18 U.S.C. § 3553(a) while

 taking into consideration all of those factors and the Chapter Seven policy statements. ·

        IT IS ORDERED, therefore, that the Defendant's supervised release is hereby

 REVOKED. The Defendant is sentenced to a term of eight (8) months of imprisonment to be

 followed by twenty-four (24) months of supervised release. All previously-imposed conditions

 of release shall remain in place. It is further ordered that his supervised release shall inc~ude the

 special condition that the Defendant serve up to six (6) months at _the Midway Rehabilitation
          '
 Center and abide by the program rules and regulat.ions. It is also recommended that his sentence

 be served at a Bureau of Prisons facility in close proximity to Eastern Tennessee.

                                        ENTER this   the~ day of__,_------1,.,....


                                                         United States District Judge




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 APPROVED FOR ENTRY:


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~ewen
 Assistant U.S. Attorney




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 Trine Robinette                                                              ·
 U.S. Probation Officer




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